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                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

     ZAK SHAIK,

          Plaintiff,

     v.                                                   No. 4:24-cv-00817-P

     CHARLES SCHWAB & CO. INC.,

          Defendants.


          ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
            RECOMMENDATION OF THE UNITED STATES
                     MAGISTRATE JUDGE

        On January 24, 2025, the United States Magistrate Judge issued
     Findings, Conclusions, and a Recommendation (“FCR”) in this case. ECF
     No. 27. The FCR recommended the Court compel the case to arbitration
     and deny Plaintiff Zak Shaik’s motion for sanctions. Plaintiff filed an
     Objection to the FCR the day it was issued. ECF No. 16. The Court
     accordingly conducted a de novo review of the FCR.

          As detailed below, the Court will overrule all of Shaik’s objections,
     adopt the reasoning of the FCR in whole, grant Schwab’s Motion to
     Compel, stay this case pending arbitration, and deny Shaik’s Cross-
     Motion for Sanctions.

                                 BACKGROUND
          Shaik worked as a Registered Investment Advisor for Defendant
     Charles Schwab & Co., Inc. (“Schwab”). In 2023, Schwab ended its
     contract with Shaik. Shaik sued Schwab for breach of contract, tortious
     interference with contract, defamation, and a smattering of other
     claims. ECF No. 1. Because Shaik appeared pro se, the Clerk referred
     his case to a Magistrate Judge for pretrial management. See N.D. Tex.
     Special Order 3–251 (Mar. 8, 2006). Schwab moved to compel the case
     to arbitration, citing the arbitration provisions in the Investment
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     Advisor Service Agreement (“IASA”)—its contract with Shaik. ECF No.
     8. The IASA provides that “any controversy over the arbitrability of a
     dispute” would be decided by an arbitrator. Id. at 5. Shaik opposed the
     motion to compel arbitration and filed a motion for sanctions. ECF No.
     11.
         The Magistrate issued its FCR. The FCR recommended granting
     Schwab’s motion, compelling the case to arbitration, and staying the
     case in the meantime. ECF No. 15. The Magistrate Judge reasoned that
     the parties had formed a valid agreement to arbitrate, that Shaik had
     no affirmative defenses to the contract, and that Shaik’s claims fell
     within the scope of the arbitration agreement. Id. Shaik filed a timely
     objection to the FCR. ECF No. 16. His objections are ripe for review.

                             LEGAL STANDARD
         A Magistrate Judge’s findings, conclusions, and recommendations
     for a dispositive matter are reviewed de novo if a party timely objects.
     FED. R. CIV. P. 72(b)(3). The district court may then accept, reject, or
     modify the recommendations or findings in whole or in part. Id. The
     Court will not consider arguments raised for the first time in objections
     to the FCR. See United States v. Armstrong, 951 F.2d 626, 630 (5th Cir.
     1992).

                       ANALYSIS OF OBJECTIONS
        Shaik objects to the Magistrate Judge’s conclusion that neither the
     arbitration provision nor the delegation provision in the IASA are void
     for unconscionability. He argues that the provisions are both
     procedurally and substantively unconscionable. Shaik also objects to the
     Magistrate Judge’s finding that sanctions are inappropriate.

        Under the Federal Arbitration Act, a court must compel an action to
     arbitration when the parties have agreed to arbitrate a dispute.
     Martinez v. Experian Info. Sols., No. 3:24-cv-0744-X, 2024 WL 3906775,
     at *1 (N.D. Tex. Aug. 22, 2024) (Starr, J.). In such a case, the court has
     no discretion to deny a motion to compel arbitration. Harvard Prop.
     Trust, LLC v. Cardillo, No. 3:10-cv-1844-K, 2011 WL 1792866, at *2
     (N.D. Tex. May 6, 2011) (Kinkeade, J.). The movant shows the existence
     of an agreement to arbitrate a dispute by showing: “(1) there exists


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     between the parties a valid agreement to arbitrate, and (2) the dispute
     in question falls within the scope of the agreement.” In re Online Travel
     Co., 953 F. Supp. 2d 713, 717 (N.D. Tex. 2013) (Boyle, J.). Courts apply
     the law of the state governing the agreement to the question of contract
     validity. Wash. Mut. Fin. Grp., LLC v. Bailey, 364 F.3d 260, 264 (5th
     Cir. 2004). Here, the parties agree that California law governs the IASA.
     ECF No. 8 at 7, No. 16 at 1.

        Unconscionability is a high bar, even under California law. 1 To avoid
     an arbitration agreement on unconscionability grounds, the party must
     show that either the whole contract or a part of it is both procedurally
     and substantively unconscionable. Sanchez v. Valencia Holding Co.,
     LLC, 353 P.3d 741, 748 (Cal. 2015). The doctrine of unconscionability
     does not protect contracting parties from a “simple old-fashioned bad
     bargain.” Id. The defense applies only to terms that “impair the integrity
     of the bargaining process or otherwise contravene the public interest or
     public policy” or “attempt to alter in an impermissible manner
     fundamental duties otherwise imposed by the law, fine-print terms, or
     provisions that seek to negate the reasonable expectations of the
     nondrafting party, or unreasonably and unexpectedly harsh terms . . . .”
     Id.

        Shaik argues that the IASA was procedurally and substantively
     unconscionable. He rests his procedural argument on: (1) the take-it-or-
     leave-it nature of the agreement; (2) his relative lack of bargaining
     power compared to Schwab; (3) the disproportionate benefit the
     agreement gave to Schwab; (4) the delegation provision’s purported
     denial of Shaik’s Seventh Amendment right to a jury trial; and (5) public
     policy, which Shaik argues the IASA offends.

        Shaik, who is proceeding without the aid of counsel, does not
     explicitly point to the flaws in the FCR. Instead, he rehashes the
     arguments from his opposition to the motion to compel arbitration.
     Therefore, rather than discuss each of these arguments on their own,
     the Court will instead simply point to a few facts about the IASA that
     support the Magistrate Judge’s findings.

        1The contract provides that California law applies, and the Parties agree.




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        First, the IASA imposes the obligation to arbitrate on both parties.
     ECF No. 8-2 ¶ 15. This fact alone belies all of Shaik’s arguments to some
     degree. For example, Shaik cites Armendariz v. Foundation Health
     Psychcare Services, Inc. for the proposition that arbitration agreements
     presented on a take-it-or-leave-it basis come with “a high degree of
     procedural unconscionability.” 6 P.3d 669, 690 (Cal. 2000); ECF No. 16
     at 1. But Armendariz’s discussion of “take it or leave it” contracts
     focused on “one-sided” terms. But here, the terms bind both sides. The
     Magistrate Judge therefore correctly found that the IASA did not
     disproportionately benefit Schwab. ECF No. 15 at 18. For the same
     reason, Shaik’s right to a jury trial was not taken from him but
     voluntarily and mutually waived. 2

        Moreover, the fourteenth paragraph of the IASA discloses the nature
     and consequences of the arbitration provisions in the following
     paragraph. Paragraph fourteen makes the following disclosures, among
     others:

            By signing an arbitration agreement, the parties
            agree as follows:
                 •   All parties to this Agreement are giving up the
                     right to sue each other in court, including the
                     right to a trial by jury, except as provided by
                     the rules of the arbitration forum in which a
                     claim is filed.
                 •   Arbitration awards are generally final and
                     binding; a party’s ability to have a court
                     reverse or modify an arbitration award is very
                     limited.
                 •   The ability of the parties to obtain documents,
                     witness statements, and other discovery is
                     generally more limited in arbitration than in
                     court proceedings.

        2Shaik  cites Granite Rock Co. v. Int’l Brotherhood of Teamsters for the
     proposition that courts, not arbitrators, should decide questions of arbitrability
     unless parties clearly and unmistakably delegate that authority. 561 U.S. 287,
     299 (2010); ECF No. 16 at 2. But the parties did clearly and unmistakably
     delegate that authority here. See ECF No. 8-2 ¶ 15.


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              [. . .]
     ECF No. 8-2 ¶ 14 (bolded text in original). Shaik cannot credibly claim
     to be blindsided or surprised by the terms of the arbitration agreement
     when Schwab drew his attention to it so deliberately.

        Finally, the IASA is not a contract for employment. See ECF No. 8-2
     ¶ 1. Shaik contracted with Schwab as an Investment Advisor. Id. He
     brought his clients to Schwab for Schwab to serve as “custodian.” Id. The
     IASA provides that Shaik and Schwab are “not affiliated with each other
     in any way.” Id. Shaik’s status as a contractor, and not an employee, all
     but eliminates any tendency of the adhesion contract toward
     unconscionability. To be clear, even if the adhesion contract were for
     Shaik’s employment, the adhesive nature of the agreement alone would
     not be proof of unconscionability under California law. See Serafin v.
     Balco Props. Ltd., LLC, 185 Cal. Rptr. 3d 151, 161 (Cal. Ct. App. 2015).
     As a contractor, Shaik has even less basis to argue that the IASA is
     unconscionable.

        Finally, the Court will overrule Shaik’s objection to the Magistrate
     Judge’s recommendation to deny his motion for sanctions. Shaik’s
     motion for sanctions is moot given that his arguments opposing
     arbitration fail.

                                      * * *

        The Court also agrees with the Magistrate Judge that a stay of
     proceedings is the only permissible course of action to take while the
     case moves through arbitration. See Smith v. Spizzirri, 601 U.S. 472,
     475–76 (2024).




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                               CONCLUSION
        For the foregoing reasons, the Court OVERRULES Shaik’s
     objections, GRANTS Schwab’s Motion to Compel, DENIES Shaik’s
     Motion for Sanctions, COMPELS this case to arbitration, and STAYS
     this case pending the outcome of the arbitration. The Court ADOPTS
     the reasoning of the FCR in all respects as its own. The Court further
     ORDERS that the Parties submit a Joint Status Report summarizing
     the status of the arbitration proceedings once every 90 days starting
     June 9, 2025.



        SO ORDERED on this 10th day of March 2025.




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